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Cost of $9 $8.8 $6.5 $5.5 $5.6

processing a
single client
account

Profit per $3 $3.2 — $5.5 $6.5 $7.0

account

The falling marginal cost relates prunarily to the efficiency of operators in processing
accounts. We assume that operators reach a western level of efficiency (2000 accounts per
operator) only in the year 2000. In our assumptions, in the first 18 months of operation
operators process accounts at only 40% the efficiency of their western counterparts.

The key variable that is likely to determine the success of the venture is the number
of client accounts. Here again we want to be conservative in our representations to you and

Nancy. We assume that we go from processing 31,000 accounts in the beginning of 2094 | LUs

to 238,000 accounts in the beginning of the year 2000. Under these assumptons, the
Specialized Depository becomes cash flow positive in the third quarter of its operation and
gives profit net of Russian tax of about $600,000 after 3.5 years of operation. Of course, if
we were to assume that this Specialized Depository has a large market share and that it were
to process millions of accounts, it would be an extremely profitable operation! We are
certainly well positioned to achieve such success if Yeltsin wins the election and the mutual
fund industry booms in Russia (and we expect both of these things to happen). However,
the only scenario that we wish to present to you and Nancy is the conservative scenario that
has been presented to you in the original business plan and that is summarized in the table
above.

5.0 Our competition. There are two potential sources of competition to this project. They
are i) Russian banks and ii) Credit Suisse. We do not think that Russian banks are serious
competitors because they are not trusted by the market place. Domestic banks, have a
reputation for unbridied opportunism particularly where inside information is available.
They also are extremely slow to develop anything new in the way of services. We think that
they will watch and wait. Credit Suisse is a more serious threat since it has indicated that
it would be interested in this fund administration business and because it is the furthest
advanced in custody of any insitution in Russia. We think our position is superior to that of
Credit Suisse for the following reasons. First, Credit Suise will not offer clients the registrar
(transfer agent) service. Instead they will farm out their customers’ register of unitholders
to a Russian holder of corporate registers. The company that they have chosen has a dubious
reputation in the market place and very Russian concept of client service and confidentiality.

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Second, Credit Suisse has explicitly stated that they will not offer the service to clients until
they have launched their own fund in order to create/maintain a barrier to entry (remember
without a depository a fund can’t be licensed). The Federal] Commission will resist any
aitempt by a fund manager to vlock entry of competing funds in this way (Pioneer in Poland
is a perfect example of what the Federal Commission intends not to happen in Russia).
Finally, Credit Suisse will not have access to the technical assistance nor to the inside track
afforded by the technical assistance to the Federal Commission.

6.0 Connection with the Fund Management Company. You have received a business plan
from Elizabeth Hebert for investment in a fund management company. The Specialised
Depository and the Fund Management Company are being offered to you as a package. We
are not interested in your investment in the Specialised Depository unless this is helpful to
raise the funds needed to start the Fund Management Company. This is for several reasons.
First, the success of the Specialised Depository will be increased if we have a lead respected
client to start things off. A fund managed by Elizabeth Hebert would have this effect as
discussed above. Second, the Federal Commission will not license the Specialised
Depository except as a package with its first client. For this reason we think that it is
important to have control over the first client to ensure that there are no problems or friction
in the set up stage. Third, we frankly want to start both of these things at the same time and
are tying our futures to this strategy. We would like our backers to do the same with their
investment.

7.0 1 hope that this is a helpful summary of the Specialized Depository project. This
work is on a short fuse. If you are interested in participating in the initial investment, it is
important to block out some time to focus on this project. The Specialized Depository
already has financing in place. If worse comes to worse it can be financed by the strategic
partner. He has already indicated his willingness to do so (under this scenario we would still
get 51% of it). If you are willing to participate in the financing of the Fund Management
Company (even on a modest scale), we are ready to offer you an opportunity to invest in the
Specialized Depository.

8.0 | look forward to talking with you about the proposal.

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Annex 1: Functions of the Specialized Depository

Under the current regulations the Specialized Depository plays both a traditional custodial
role and a compliance function.

stod -
As the custodian of the mutual fund the specialized depository’s functions include:

holding of assets and accompanying ownership records

cash control accounting, where separate payment and disbursement accounts are maintained
by the specialized depository on behalf of the fund and reconciled on a regular basis with
fund accounting

recording and accounting for capital and income received by the fund through investment
of fund assets

* processing corporate actions notifications from investee issuers and acting on the
instructions of the fund manager with regard to such actions

documenting authorisations on fund transactions

receipt of payments from subscriptions and payment for unit redemptions upon appropnate
instructions

payment for fund expenses at the direction of the fund manager

- settling all securities transactions with the market

ypecialised Registrar and Unitholder

The specialised registrar function requires: the specialised depository to control various
aspects of the relationship between the unit holder and the fund manager including:

maintaining the register of unitholders,

processing unit. purchases and redemptions, order verification and data entry, processing,
verification and reconciliation of transactions of unit sales and redemptions as reported,

documenting all changes to the register unrelated to creation or cancellation of units (i.e.
change of address),

responding to customer service inquiries,

* mailing informational materials upon instruction of the fund manager.

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The Specialized Depository would also hope be offer the following (in fact this requires
certain modification to existing regs, but we expect this to be achievable):

securities valuation, wkich must be conducted daily using price quotes obtained from

reputable sources (¢.g., The Russian Trading System),

processing of corporate actions, including stock splits and dividend payments, which can
effect the total value of the funds assets,

accounting and accruing of Fund expenses and income in compliance with the applicable

regulations,
calculation of the net asset value (NAV) of the fund based on daily reports received.

In addition to the traditional role of a fund administrator the current regulations require that
the the specialiséd depository assumes a regulatory function on behalf of the Commission
and is responsible for reporting all improprieties of the fund manager to the Commission.

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April 29, 1996 Aho — thet of.
To: Michael Oster
From: Jonathan Hay ots
pra .
1. This memo is to confirm the that we had on Friday Sere Cl

2. As we discussed, | would put together a small team (Real Estate Services Group) which
would include myself and a number of Russian colleagues to provide services to CPI in the
following areas:

a. Systemization of legal analysis for projects,
b. creation of standard templates and structures for different types of transactions

c. organization of closure process both in terms of standardizing work flows in

gencral, as well as with respect to specific transactions,
¢. development of asset management fuoction,
f. development of contro! function.
We could begin immediately with those areas of work that are of the highest priority to you.

Compensation: Services should be compensated at hourly rates, except for organization of
closings which should contain a success fee in order to motivate the Real Estate Services Group
to quickly realize CPI objectives.

3. The Real Estate Services Group would form an entity jointly with CPI (or sign a contract

Compensation: Equity would either be divided on a deal by deal basis or globally through the
entity created above. Your thoughts an an appropriate and fair way to organize compensation
are needed here.

4. Real Estate Mumal Fund. The Real Estate Services Group should also form together

with CPI a domestic mutual fund to invest in real estate. This project would combine expertise

of CPI. Real Estate Services Group, and piggyback on the mutual fund infrastructure being

Created in the project with Elizabeth Hebert. ?P

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i, Adjustments of prior periods 6.00
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& Marisa Schasel - Cash Manager (617) 496-2507

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FEDERAL d. Total receipts (Sum of lines b and ¢) 2,387,000,00
CASH e. Total cash available (Sum of lines a and d) 1,399,837.93

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b. Letter of credit withdrawals 2, 652,000.00
c. Treasury check payments
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FEDERAL d. Total receipts (Sum of lines b and e) 2, 652,000.00
CASH e. Total cash available (Sum of lines a and d) 1,399, 909.57
f. Gross disbursements 2,358,834.78
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b. Letter of credit withdrawals - 2,313,000.00 ©”
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on the back) h. Net disbursements (Line f minus line g) : ce 1,956,452.72
1. Adjustments of prior periods 0.00
}. Cash on hand end of period DEFICIT $ (419,456.88)
12. THE AMOUNT SHOWN | 13. OTHER INFORMATION
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DATE REPORT SUBMITTED

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of the grant or agreement

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Marisa Schagel - Caah Manager (617) 496-2507
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3. FEDERAL EMPLOYER FROM (menth, des, year) TO (month, day weer)
IDENTIFICATION NO. > 04210350 3/01/95 3/31/95
a. Cash on hand beginning of reporting period DEFICIT $ (419, 456.88)
b. Letter of credit withdrawals 2,022, 000.00 JS
c. Treasury check payments 0.00
11. STATUS OF :
FEDERAL d. Total receipts (Sum of lines b and c) Cot _ 2,022,000.00
CASH @. Total cash available (Sum of lines a and d) _ 1,602,543.12
ft. Gross disbursements 2,330,216 .36
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on the back) h. Net disbursements (Line f minus line 9) 2,330,216 .36
1. Adjustments of prior periods 0.00
j. Cash on hand end of period DEFICIT $ (727,673.24)
12. THE AMOUNT SHOWN | 13. OTHER INFORMATION
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14. REMARKS (Attach additional sheets of plain paper, if more space is required)

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Mariga Schasel - Cash Manager

DATE REPORT SUBMITTED

4/12/95

TELEPHONE (Area Code,
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(617) 496-2507

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IDENTIFICATION NO. > 04210350 4/01/95 4/30/95
a. Cash on hand beginning of reporting period DEFICIT $ (727,673.24)
b. Letter of credit withdrawals : 2,294, 000.00 ”
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11. STATUS OF ¢. Treasury ; 0.00
FEDERAL d. Total receipts (Sum of lines b and ¢) . 2,294,000,00
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f. Gross disbursements “ eV LS . YA 1, 365,327.50
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QUIREMENTS FOR THE| ° ‘terest income $ °
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Days b. Advances to subgrantees or subcontractors $

14. REMARKS (Attach additional sheets of plain paper, if more space is required)
Surplus cash due to credits put through at end of month; surplus position has been
fully disbursed within the first week of May.

15, CERTIFICATION

DATE REPORT SUBMITTED

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Marisa Schasel - Cash Manager , (617) 496-2507
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a. ‘Cash on hand beginning of reporting period 1$ 200,999.26
b. Letter of credit withdrawals 1,320,000.00
c. Treasury check payments
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FEDERAL d. Total receipts (Summ of lines b and ¢) we 1,310, 000.00
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f. Gross disbursements 2,072, 718.73
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j. Cash on hand end of period DEFICIT $ (561,719.47)
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Mariga Schasel - Cash Manager {617) 496-2507
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f. Gross disbursements “, - ° : 2,309,332.87
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(See apecific g. Federal share of program income . 0.00
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i, Adjustments of prior periods 0.00
j. Cash on hand end of period DEFICIT $ (809, 052.34)
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Marisa Schasel - Cash Manager (617) 496-2507

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c. Treasury check payments ss
11. STATUS OF Y é 0.00
FEDERAL d. Total receipts (Sum of lines b and ¢) . 2, 062,000.00
CASH @. Total cash available (Sum of lines a and d) 4,500,200.53
f. Gross disbursements 2, 687,886.07
. Federal share of program income .
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instructions , . .
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i. Adjustments of prior periods 0.00
j. Cash on hand end of period DEFICIT $ (1,187, 605.54)

12. THE AMOUNT SHOWN | 13.

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Marisa Schasel - Cash Manager

(617) 496-2507

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a. Cash on hand beginning of reporting period DEFICIT $ (1,187, 605.54)
b. Letter of credit withdrawals 2,188,000.00 “PE
c. Treasury check ents .

11. STATUS OF v paym 0.00
FEDERAL d. Total receipts (Sum of lines b and c) 2,188, 000.00
CASH e. Total cash available (Sum of lines a and d) 1,000,394.46

f. Gross disbursements 1,232,975.49
. Federal share of ram income .
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}. Cash on hand end of period DEFICIT $ (232,562.03)

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Marisa Schase] - Cash Manager

DATE REPORT SUBMITTED

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a. Cash on hand beginning of reporting period DEFICIT $ (232,302.03)
b. Letter of credit withdrawals , 1,516,000.00 *
c. Treasury check payments 0.00
11. STATUS OF :
CASH e. Total cash available (Sum of lines a and d) 1,283,418.97
f. Gross disbursements 2,094,225.72
. g. Federat share of program income 0.00
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tustructions : . . . ..
on the back) h. Net disbursements (Line f minus line g) 2,094,225.72
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a. Cash on hand beginning of reporting period DEFICIT $ (810,806.75)
b. Letter of credit withdrawals 2,111,000.00 >=
c. Treasury check ents
11. STATUS OF Y paym 0.00
FEDERAL _d. Total receipts (Sum of lines b and c) h \ 2,111,000.00
CASH e. Total cash available (Sum of lines a agg) oS \ VW 4 1, 300,193.25

f. Gross disbursements

2,679,588.45

g. Federal share of program income

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i. Adjustments of prior periods 0.00
j. Cash on hand end of period DEFICIT $ (2,579, 395.20)
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QUIREMENTS FOR THE| * interest Income $ .
ENSUING
b. Advances to subgrantees or subcontractors $

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Marisa Schasel - Cash Manager

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a. Cash on hand beginning of reporting period DEFICIT $ (1,579, 395.20)
b. Letter of credit withdrawals 3,079,000.00 We
¢. Treasury check payments
11. STATUS OF v " 0.00
d. Total receipts (Sum of lines b and c) 3,075,000.00
D>, Total cash available (Sum of lines a and d) 499,608.80
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=ross disbursements 2,646,890.77
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Federal share of program income 0.00
h. Net disbursements (Line f minus line 7) 2, 646,890.77
i. Adjustments of prior periods 0.00
j. Cash on hand end of period DEFICIT $
(1,247, 285.97)
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Agency for International Development

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IDENTIFICATION NO. 04210350 12/01/95 11/30/95
a. Cash on hand beginning of reporting period DEFICIT § (1,147,285.97)
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14. REMARKS (Attach additional sheets of plain paper, if more space tt required)

15. . CERTIFICATION

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Marisa Schasel - Cash Manager (617) 496-2507

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FEDERAL d. Total receipts (Sum of lines b and c) 2,166, 000.00
e. Total cash available (Sum of lines a and d) 2,320, 215.29

{. Gross disbursements 2,612,468.64

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, Marisa Schasel - Cash Manager (617) 496-2507

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